         CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


    In re: Application of CA Investment                      Case No. 19-mc-22 (MJD/SER)
    (Brazil) S.A. for an Order to Take
    Discovery for Use in Foreign Proceedings                              ORDER
    Pursuant to 28 U.S.C. § 1782


    Douglas L. Elsass, Nilan Johnson Lewis PA, 120 South Sixth Street, Suite 400,
    Minneapolis MN 55402; and Kenneth Puhala, Schnader Harrison Segal & Lewis LLP,
    140 Broadway, Suite 3011, New York NY 10005 (for Petitioner).


          This matter is before the Court, United States Magistrate Judge Steven E. Rau, on

CA Investment (Brazil) S.A.’s Ex Parte Application for an Order to Take Discovery for

Use in Foreign Proceedings Pursuant to 28 U.S.C. § 1782. (ECF No. 1). For the reasons

set forth below, the application is granted.

    I.    BACKGROUND

          Eldorado Brasil Celulose S.A. (“Eldorado”) is a Brazilian company that produces

market bleached hardwood kraft pulp. (Decl. of Claudio Laert Cotrim Passos ¶ 2, ECF No.

3). CA Investment (Brazil) S.A. (“CA Investment”) is a Brazilian corporation. 1 (Cotrim

Passos Decl. ¶ 2). CA Investment holds 49.41% of the total issued and outstanding shares

of Eldorado. (Cotrim Passos Decl. ¶ 2). The remaining 50.59% of the issued and

outstanding shares in Eldorado are held by J&F Investimentos S.A. (Cotrim Passos Decl.

¶ 3). J&F Investimentos is controlled by two brothers, Joesley Mendonça Batista and

Wesley Mendonça Batista. (Cotrim Passos Decl. ¶ 3).


1
    CA Investment is a subsidiary of Paper Excellence B.V., a Dutch corporation. (ECF No. 4).
         CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 2 of 9



          Following a corruption probe by Brazilian authorities, Joesley Mendonça Batista

and Wesley Mendonça Batista, as well as other officers of various companies owned by

J&F Investimentos, entered into plea bargains with the Brazilian Federal Prosecutor

Service on May 3, 2017. (Cotrim Passos Decl. ¶ 4). The pleas called for fines totaling

R$225 million. (Cotrim Passos Decl. ¶ 4). On June 5, 2017, J&F Investimentos entered in

a leniency agreement wherein it assumed responsibility for the criminal conduct outlined

in the May 3, 2017 pleas; J&F Investimentos agreed to pay a R$8.0 billion fine and

contribute R$2.3 billion over a 25-year period for social projects. 2 (Cotrim Passos Decl.

¶ 5).

          To fund these fines, Joesley Mendonça Batista, Wesley Mendonça Batista, and J&F

Investimentos sought to sell various assets, including Eldorado. (Cotrim Passos Decl. ¶ 7).

On September 2, 2017, CA Investment entered into a share purchase agreement with J&F

Investimentos to purchase its ownership interest in Eldorado, which was 80.9% of

Eldorado’s total issued and outstanding capital stock. (Cotrim Passos Decl. ¶ 8). The share

purchase agreement provided that CA Investment would acquire all shares in Eldorado by

September 2, 2018. (Cotrim Passos Decl. ¶ 9).

          Two transactions were made pursuant to the share purchase agreement. First, J&F

Investimentos sold CA Investment 13% of the total and voting share capital of Eldorado

for R$1,006,000 on September 25, 2017. (Cotrim Passos Decl. ¶ 9(a)). On December 12,

2017, CA Investment purchased 34.45% of the indirect total share capital of Eldorado from



2
    R$10.3 billion is approximately US$3.24 billion. (Cotrim Passos Decl. ¶ 5).


                                                      2
      CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 3 of 9



Florestal Fundo de Investimento em Participacoes Multiestrategia for R$2,700,000,000

and 1.96% of the indirect total and voting share capital for R$151,000,000. (Cotrim Passos

Decl. ¶ 9(b)). This brought CA Investment to a total of 49.41% ownership of the shares of

Eldorado. (Cotrim Passos Decl. ¶ 9(b)).

       The sale of the remaining Eldorado shares to CA Investment has not occurred.

(Cotrim Passos Decl. ¶ 9(c)). On July 18, 2018, CA Investment remitted the necessary

funds to finalize the purchase of the remaining Eldorado funds pursuant to the share

purchase agreement. (Cotrim Passos Decl. ¶ 9(c)). Due to various market changes—a

significant increase in pulp prices in China and favorable changes to the US/Brazilian

exchange rate—J&F Investimentos and Eldorado frustrated CA Investment’s efforts under

the share purchase agreement. (Cotrim Passos Decl. ¶ 11). Accordingly, CA Investment

sought an injunction in Brazilian courts on August 14, 2018. (Cotrim Passos Decl. ¶ 12).

On August 31, 2018, the Brazilian court determined that the dispute between CA

Investment and J&F Investimentos and Eldorado should be resolved by ICC arbitration

under the terms of the share purchase agreement. (Cotrim Passos Decl. ¶ 13). The Brazilian

court enjoined J&F Investimentos from (1) disposing of its shares in Eldorado pending the

arbitration and (2) any transactions outside the ordinary course of business without CA

Investment’s consent. (Cotrim Passos Decl. ¶ 13).

       On September 4, 2018, J&F Investimentos notified CA Investments that it was

terminating the share purchase agreement on the grounds that the September 2, 2018

deadline had passed and CA Investment failed to fulfill its obligations. (Cotrim Passos

Decl. ¶ 14).


                                            3
      CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 4 of 9



       J&F Investimentos and CA Investments appealed the Brazilian court decision.

(Cotrim Passos Decl. ¶ 15). The São Paulo State Court of Appeals issued its decision on

November 28, 2018, suspending J&F Investimentos’ termination notice and extending the

injunctive relief through an arbitration decision. (Cotrim Passos Decl. ¶ 15; see Cotrim

Passos Decl. Ex. B).

       CA Investment submitted its arbitration request to the Secretariat of the

International Court of Arbitration of Brazil on September 5, 2018. (Cotrim Passos Decl.

¶ 16). J&F Investimentos and Eldorado responded on October 15, 2018. (Cotrim Passos

Decl. ¶ 16). On March 21, 2019, an arbitral tribunal was constituted under ICC Case No.

23909/GSS. (Cotrim Passos Decl. ¶¶ 16–17).

       At a shareholders’ meeting on February 6, 2019, J&F Investimentos approved, over

the objection of CA Investment, the issuance of US$500 million in new bonds listed on the

Singapore Exchange Securities Trading Limited (“Singapore Exchange”) by an Eldorado

affiliate, Eldorado Intl. Finance GmbH. (Cotrim Passos Decl. ¶ 18). The bonds would be

guaranteed by Eldorado and another Eldorado affiliate, Cellulose Eldorado Austria GmbH.

(Cotrim Passos Decl. ¶ 18). This proposed bond offering had been approved at a January

21, 2019 meeting of Eldorado’s board of directors. (Cotrim Passos Decl. ¶ 19). 3 In relation

to the proposed new bonds, CA Investment obtained from a third party—not Eldorado or

J&F Investimentos—the accompanying bond offering memorandum. (Cotrim Passos Decl.




3
 Six of seven directors are nominated by J&F Investimentos, which is controlled by Joesley Mendonça
Batista and Wesley Mendonça Batista. (Cotrim Passos Decl. ¶ 19).


                                                  4
      CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 5 of 9



¶ 20). CA investment asserts there are numerous fraudulent representations in the bond

offering memorandum. (Cotrim Passos Decl. ¶¶ 21–22).

       On February 7, 2019, CA Investment commended dual actions in the High Court of

Singapore (HC/OS 169/2019) and the Singapore High Court (HC/SUM 612/2019) seeking

an injunction restraining Eldorado from taking any steps to publish or disseminate the bond

offering memorandum or applying to list the proposed bonds on the Singapore Exchange.

(Cotrim Passos Decl. ¶¶ 23–24). The Singapore High Court issued an order granting the

injunction the same day. (Cotrim Passos Decl. ¶ 25; see Cotrim Passos Decl. Ex. C).

       On February 7, 2019, CA Investment filed an injunction application in the Second

Business and Arbitration Dispute Court in São Paulo asserting that the issuance of new

bonds was outside the ordinary course of business. (Cotrim Passos Decl. ¶ 26). The

injunction was granted on an ex parte basis but, following motions by J&F Investimentos

and Eldorado, was revoked on February 27, 2019. (Cotrim Passos Decl. ¶ 26). CA

Investment appealed to the São Paulo Appellate Court which restored the bond injunction

in part, ruling that Eldorado could only prepare for the proposed bond offering after

completion of the arbitration. (Cotrim Passos Decl. ¶ 27). That decision was revoked after

reconsideration on March 11, 2019. (Cotrim Passos Decl. ¶ 27).

       On March 15, 2019, CA Investment filed a derivative action in the High Court of

Singapore (HC/S 284/2019) asserting that Joesley Mendonça Batista, Wesley Mendonça

Batista, and other Eldorado directors and officers caused Eldorado to publish false or

misleading statements concerning the bond offering, committed fraud, and breached their

fiduciary duties. (Cotrim Passos Decl. ¶ 28; see Cotrim Passos Decl. Ex. A).


                                            5
      CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 6 of 9



       CA Investments seeks discovery for the court proceedings in Singapore and Brazil

and the arbitration proceeding in Brazil. (Cotrim Passos Decl. ¶ 29). The bond offering

memorandum discloses U.S. Bank as the trustee for the proposed bonds. (Cotrim Passos

Decl. ¶ 29). CA Investment believes U.S. Bank has possession, custody, or control of

documents relating to the statements in the bond offering memorandum. (Cotrim Passos

Decl. ¶ 29). CA Investment has already been granted authorization to conduct discovery

for use in these foreign proceedings by the United States District Court for the Southern

District of New York as relates to entities based in New York: (1) White & Case LLP;

(2) BDO USA, LLP; (3) The Bank of New York Mellon Corporation; (4) Moody’s

Investor Service, Inc.; and (5) Fitch Ratings, Inc. (Cotrim Passos Decl. ¶ 31; see Cotrim

Passos Decl. Ex. D).

II.    ANALYSIS

       Under 28 U.S.C. § 1782,

       [t]he district court of the district in which a person resides or is found may
       order him to give his testimony or statement or to produce a document or
       other thing for use in a proceeding in a foreign or international tribunal,
       including criminal investigations conducted before formal accusation. The
       order may be made . . . upon the application of any interested person . . . .

28 U.S.C. § 1782(a); see also In re Hallmark Capital Corp., 534 F. Supp. 2d 951, 953–54

(D. Minn. 2007) (an order is “appropriate where the Applicant establishes that (1) the

discovery is sought from a person found in this district, (2) the discovery is for use in a

proceeding before a foreign tribunal, and (3) the applicant is an ‘interested person’ before

such foreign tribunal.”).




                                             6
      CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 7 of 9



       Here, based on the record before the Court, U.S. Bank N.A. is headquartered in

Minnesota and conducts its Global Corporate Trust Services from St. Paul, Minnesota,

which is within the District of Minnesota. The applicant, CA Investment, seeks to use

discovery before three foreign tribunals: (1) the Brazilian courts; (2) an ICC arbitration in

Brazil; and (3) the Singaporean courts. CA Investment qualifies as an “interested person”

given it is a participant in the proceedings before the Brazilian and Singaporean courts and

the ICC arbitration tribunal. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241,

256 (2004) (“No doubt litigants are included among, and may be the most common

example of, the ‘interested persons’ who may invoke § 1782.”). Accordingly, CA

Investment has satisfied the requirements set forth in § 1782(a).

       “[A] district court is not required to grant a § 1782(a) discovery application simply

because it has the authority to do so.” Intel Corp., 542 U.S. at 264. The Supreme Court has

enumerated four “factors that bear consideration in ruling on a § 1782(a) request.” Id.

These factors are: (1) whether the person from whom discovery sought is a participant in

the foreign proceeding; (2) the nature of the foreign tribunal, the character of the foreign

proceedings, and the receptivity of the foreign tribunal to federal judicial assistance;

(3) whether the request conceals an attempt to circumvent foreign proof-gathering

restrictions or other policies; and (4) whether the request is unduly intrusive or

burdensome. Id. at 264–65; accord In re Hallmark Capital Corp., 534 F. Supp. 2d at 954

(once the statutory requirements are met, “a court has the discretion to grant an application

under Section 1782 if doing so would (1) provide an efficient means of assistance to

participants in international litigation, and (2) encourage foreign countries to provide


                                             7
         CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 8 of 9



reciprocal means of assistance to United States courts and litigants.”) (citing In re

Application of Euromepa, 51 F.3d 1095, 1097, 1101 (2d Cir. 1995)).

          Based on the factors outlined in Intel Corp., the Court concludes that the application

should be granted. U.S. Bank is not a participant to the foreign proceedings and is outside

their jurisdictional reach. U.S. Bank is an entity that likely has information related to the

bond offering memorandum. There is no indication that any of the foreign proceedings

would reject evidence obtained by CA Investment in the United States. Nor is there any

indication that CA Investment is attempting to circumvent foreign proof-gathering

procedures through this application. And finally, the discovery sought is narrowly tailored

to information known to U.S. Bank related to the proposed bond offering at dispute in each

of the foreign proceedings. Accordingly, the Court finds that the factors espoused in Intel

Corp. all weigh in favor of granting the application.

III.      CONCLUSION

          Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that

          1.     CA Investment (Brazil) S.A.’s Ex Parte Application for an Order to Take

       Discovery for Use in Foreign Proceedings Pursuant to 28 U.S.C. § 1782, (ECF No. 1),

       is GRANTED.

          2.     CA Investment is authorized to issue, sign, and serve a subpoena upon U.S.

       Bank N.A. in substantially the same form as attached to the application. (See ECF No.

       1, Ex. 2 (proposed subpoena)). A copy of this Order shall be served with the subpoena.




                                                8
     CASE 0:19-mc-00022-MJD-SER Document 8 Filed 04/09/19 Page 9 of 9



      3.     In accordance with 28 U.S.C. § 1782(a), the discovery conducted pursuant

   to this Order, as well as any related motion practice, shall comply with the Federal

   Rules of Civil Procedure and the Local Rules of this Court.


Date: April 9, 2019                                   s/ Steven E. Rau
                                               Steven E. Rau
                                               United States Magistrate Judge
                                               District of Minnesota

                                               In re: Application of CA Investment
                                               Case No. 19-mc-22 (MJD/SER)




                                           9
